
This is an appeal from a district court order denying a postconviction petition for a writ of habeas corpus. Eighth Judicial District Court, Clark County; Michelle Leavitt, Judge.
Appellant's sole contention is that the DUI court erred in terminating him from the program without conducting a formal revocation hearing. As this claim does not assert that appellant's counsel was ineffective or that his guilty plea was not knowingly and voluntarily entered, it falls outside the scope of claims permitted in a postconviction petition for a writ of habeas corpus arising out of where the petitioner's conviction was upon a guilty plea. See NRS 34.810(1)(a). Accordingly, we
ORDER the judgment of the district court AFFIRMED.
